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                                             NORTHERNDISTRICTOFILLINOIS
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                                              JEFFREYP.ALLSTEADT,CLERK
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